                      Case: 1:16-cr-00318 Document #: 72 Filed: 05/02/18 Page 1 of 8 PageID #:197



                                  UNITED STATES DISTRICT COURT
                                                          Northern District of Illinois


                   UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                              v.

                      JONATHAN SMALLEY                                           Case    Number:         l6 cr 3 l8-   I


                                                                                 USM     Number:         46826-424



                                                                                 Patrick W. Begen
                                                                                 Defendant's Attorney


THE DEFENDANT:
      pleaded guilty to count(s) 2 of the lndictment
      pleaded nolo contendere to count(s)           which was accepted by the court.
      was found guilty on count(s)          after a plea of not guilty.

The defendant is adjudicated guilty ofthese offenses:
Title & Section                        Nature of Offense                                                    Offense Ended              Count
l8 U.S.C. $ e22(gXl)                   Unlawful Transportation and possession of a firearm by      a        5il3/2016
                                       convicted felon




The defendant is sentenced as provided in pages 2 through 8 ofthisjudgment. The sentence is imposed pursuant to the Sentencing Reform
Act   of   1984.

fl    fne defendant   has been found not guilty on count(s)

XI Count(s) I of the Indictment dismissed on the motion of the United      States.

It is ordered that the defendant must notiry the United States Attorney for this District within 30 days of any change of name, residence, or
mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
restitution, the defendant must notiry the court and United States Attorney of material changes in economic circumstances.


                                                                                       5t2t20t8
                                                                                        .-\l-trtr,
                                                                                                            l:(M^_
                                                                                       Date of lmoosition of Judsment



                                                                                       Signature ofJudge

                                                                                       Robert W. Gettleman U.S. District Court Judge
                                                                                       Name and Title of Judge

                                                                                              51212018
                                                                                       Date
                 Case: 1:16-cr-00318
ILND 2458 (Rev. 08/02/2016) Judgment in
                                          Document #: 72 Filed: 05/02/18 Page 2 of 8 PageID #:198
                              a Criminal Case
Sheet2-   ImDrisonment                                                                          Judgment-                               Page2   of8
DEFENDANT: JONATHAN SMALLEY
CASE NUMBER: l6 CR 318-l
                                                            IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term ofl
sixty-four (64) months.

I   fne court makes the following recommendations to the Bureau of Prisons: That the Bureau select the facility located in Yazoo City,
     Mississippi, and that defendant participate in a Residential Drug Abuse Program,

n    fne defendant is remanded to the custody of the United     States Marshal.

I    fne defendant shall surrender to the United   States Marshal for this district:

          Eut            on

     E    ur notified by the United States Marshal.

     [l   fne defendant shall surrender for service ofsentence    at the institution designated by the Bureau ofPrisons:

          fi   before 2:00 pm on 612612018

          fl   ur notified by the United States Marshal.

          E    ut notified by the Probation or Pretrial Services Office.




                                                                   RETURN

I have executed this judgment as follows:




Defendant delivered    on                 to                                                                     , with a certified copy of this
judgment.




                                                                                       UNITED STATES MARSHAL


                                                                                  By
                                                                                       DEPUTY UNITED STATES MARSHAL
                              Case: 1:16-cr-00318
ILND 2458 (Rev. 1210412017) Judgment in
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                                           a Criminal Case
    -
Shcct 3        Supervised     Release                                                                     .ludgnrent - Page 3 of 8

DEFENDANT: JONATHAN SMALLEY
CASE NUMBER: l6 CR 318-l

               MANDATORY CONDTTTONS OF SUPERVTSED RELEASE PURSUANT TO 18 U.S.C $ 3583(d)

Upon release from imprisonment, you shall be on supervised release for a term of:
three (3) years.

         You must report to the probation office in the district to which you are released within 72 hours of release from the custody of the
Bureau of Prisons. The court imposes those conditions identified by checkmarks below:

During the period of supervised release:
X         (   l)   you shall not commit another Federal, State, or local crime.
X         (2) you shall not unlawfully possess a controlled substance.
n         (3) you shall attend a public, private, or private nonprofit offender rehabilitation program that has been approved by the court, if
                   an approved program is readily available within a 50-mile radius of your legal residence. [Use for a first conviction of a
                   domestic violence crime, as defined in $ 356t(b).1
tr        (4) you shall register and comply with all requirements of the         Sex Offender Registration and Notification Act (42 U.S.C.       S
                   r   69r3).
X         (5) you shallcooperate in the collection of a DNA sample if the collection of such a sample is required by law.
X         (6) you shall refrain from any unlawful use of a controlled substance AND submit to one drug test within I 5 days of release on
              supervised release and at least two periodic tests thereafter, up to 104 periodic tests for use ofa controlled substance during
                   eachyearofsupervisedrelease. [Thismandatoryconditionmaybeamelioratedorsuspendedbythecourtforanydefendant
                   if reliable sentencing information indicates a low risk of future substance abuse by the defendant.]


  DISCRETIONARY CONDITIONS OF SUPERVTSED RELEASE PURSUANT TO 18 U.S.C $ 3563(b) AND
                                 r8 u.s.c $ 3s83(d)
Discretionary Conditions       The court orders that you abide by the following conditions during the term of supervised release because such
                            -
conditions are reasonably related to the factors set forth in $ 3553(aXl) and (aX2XB). (C). and (D): such conditions involve only such
deprivations ofliberty or property as are reasonably necessary for the purposes indicated in $ 3553 (aX2) (B). (C). and (D): and such
conditions are consistent with any pertinent policy statement issued by the Sentencing Commission pursuant to 28 U.S.C. 994a.
The court imposes those conditions identified by checkmarks below:

During the period ofsupervised release:
X          )
          (I             you shall provide financial support to any dependents if financially able.
n         Q)             you shall make restitution to a victim of the offense under $ 3556 (but not subject to the limitation of g 3663(a) or
                         g   3663A(cXlXA)).
n         (3)            you shall give to the victims of the offense notice pursuant to the provisions of $ 3555, as follows:
X         (q             you shall seek, and work conscientiously at, lawful employment or pursue conscientiously a course of study or
                         vocational training that will equip you for employment.
tr        (5)            you shall refrain from engaging in a specified occupation, business, or profession bearing a reasonably direct relationship
                         to the conduct constituting the offense, or engage in such a specified occupation, business, or profession only to a stated
                         degree or under stated circumstances; (ifchecked yes, please indicate restriction(s))
X         (6)            you shall refrain from knowingly meeting or communicating with any person whom you know to be engaged, or
                         planning to be engaged, in criminal activity and from:
                         I visiting the following type of places:
                         ! knowingly meeting or communicating with the following persons:
X         O)             you shall refrain from ! any or fi excessive use ofalcohol (defined as I having a blood alcohol concentration greater
                         than 0.08): orn           , or any use ofa narcotic drug or other controlled substance, as defined in $ 102 ofthe Controlled
                         Substances Act (21 U.S.C. S 802), without a prescription by a licensed medical practitioner.
X         (S)            you shall refrain from possessing a firearm, destructive device, or other dangerous weapon.
tr        (9)            E you shall participate, at the direction of a probation officer, in a substance abuse treatment program, which may
                              include urine testing up to a maximum of 104 tests per year.
                         E yo, shall participate, at the direction of a probation officer, in a mental health treatment program, which may include
                              the use of prescription medications.
                         n you shall participate, at the direction of a probation officer, in medical care; (if checked yes, please specify: .)
tr        (   l0)        (intermittent confinement): you shall remain in the custody of the Bureau of Prisons during nights, weekends, or other
                         intervals of time, totaling         [no more than the lesser of one year or the term of imprisonment authorized for the
                      Case:.ludgment
ll.Nl) 2458 (Rev. l2l04l2017) 1:16-cr-00318         Document
                                     in a Criminal Case             #: 72 Filed: 05/02/18 Page 4 of 8 PageID #:200
   3 Supcrviscd Relcasc
Sheet                                                                                                                          .ludgnrent-Page4ol'8
DEFENDANT: JONATHAN SMALLEY
CASENUMBER: l6CR318-l
                  offense], during the first year ofthe term ofsupervised release (provided, however, that a condition set fonh in $
                  3563(bXl0) shall be imposed only for a violation of a condition of supervised release in accordance with g 3583(e)(2)
                  and only when facilities are available) for the following period
n                 (community confinement): you shall reside at, or participate in the program of a community corrections facility
                  (including a facility maintained or under contract to the Bureau of Prisons) for all or part of the term of supervised
                  release, for a period of        months.
n       ( l2)     you shall work in community service for            hours as directed by a probation officer.
tr      ( l3)     you shall reside in the following place or area:        , or refrain from residing in a specified place or area:
x       ( l4)     you shall remain within the jurisdiction where you are being supervised, unless granted permission to leave by the court
                  or a probation officer.
x       (   ls)   you shall report to a probation officer as directed by the court or a probation officer.
x       (   t6)                                                                                             f]
                  X you shall permit a probation officer to visit you X at any reasonable time or as specified:
                           I  at home                     !
                                                        at work                 I    at school               X at a community service location
                         I    other reasonable location specified by  a probation   officer
                  X you shall permit confiscation of any contraband observed in plain view of the probation officer.
x       (   l7)   you shall notify a probation officer promptly, within 72 hours, of any change in residence, employer, or workplace and,
                  absent constitutional or other legal privilege, answer inquiries by a probation officer.
x       (l8)      you shall notify a probation officer promptly, within 72 hours, if arrested or questioned by a law enforcement officer.
n       (te)      (home confinement): you shall remain at your place of residence for a total of            months during nonworking hours.
                  [This condition may be imposed only as an alternative to incarceration.]
                  tr Compliance with this condition shall be monitored by telephonic or electronic signaling devices (the selection of
                         which shall be determined by a probation officer). Electronic monitoring shall ordinarily be used in connection
                         with home detention as it provides continuous monitoring of your whereabouts. Voice identification may be used
                         in lieu of electronic monitoring to monitor home confinement and provides for random monitoring of your
                         whereabouts. If the offender is unable to wear an electronic monitoring device due to health or medical reasons, it
                         is recommended that home confinement with voice identification be ordered, which will provide for random
                         checks on your whereabouts. Home detention with electronic monitoring or voice identification is not deemed
                         appropriate and cannot be effectively administered in cases in which the offender has no bona fide residence, has a
                         history of violent behavior, serious mental health problems, or substance abuse; has pending criminal charges
                         elsewhere; requires ffequent travel inside or outside the district; or is required to work more than 60 hours per
                           week.
                  tr       You shall pay the cost of electronic monitoring or voice identification at the daily contractual rate, if you are
                           financially able to do   so.
                  tr     The Court waives the electronic/location monitoring component of this condition.
tr      (20)      you shall comply with the terms of any court order or order of an administrative process pursuant to the law of a State,
                  the District of Columbia, or any other possession or territory of the United States, requiring payments by you for the
                  support and maintenance of a child or of a child and the parent with whom the child is living.
tr (21)           (deportation): you shall be surrendered to a duly authorized official of the Homeland Security Department for a
                  determination on the issue of deportability by the appropriate authority in accordance with the laws under the
                  Immigration and Nationality Act and the established implementing regulations. lf ordered deported, you shall not
                  reenter the United States without obtaining, in advance, the express written consent of the Aftorney General or the
                  Secretary of the Department of Homeland Security.
x       (22)      you shall satisfy such other special conditions as ordered below.
tr (23)           (if required to register under the Sex Offender Registration and Notification Act) you shall submit at any time, with or
                  without a warrant, to a search ofyour person and any property, house, residence, vehicle, papers, cotxputer, other
                  electronic communication or data storage devices or media, and effects, by any law enforcement or probation officer
                  having reasonable suspicion concerning a violation ofa condition ofsupervised release or unlawful conduct by you, and
                  by any probation officer in the lawful discharge ofthe officer's supervision functions (see special conditions section).
n       (24)      Other:

SPECIAL CONDITIONS OF SUPERVISED RELEASE PURSUANT TO 18 U.S.C. 3563(bX22) and 3s83(d)
The courl imposes those conditions identified by checkmarks below:

During the term of supervised release:
tr      (   l)    if you have not obtained a high school diploma or equivalent, you shall participate in a General Educational
                  Development (GED) preparation course and seek to obtain a GED within the first year of supervision.
tr      Q)        you shall participate in an approved job skill-training program at the direction of a probation officer within the first 60
                  days of placement on supervision.
X (3)             you shall, if unemployed after the first 60 days of supervision, or if unemployed for 60 days after termination or lay-off
ILND 2458 (Rcv.
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Sheet                                                                                                                               .ludgment   -   Page 5 of 8

DEFENDANT: JONATHAN SMALLEY
CASE NUMBER: l6 CR 318-l
                        from employment, perform at least 20 hours of community service per week at the direction of the U.S. Probation Office
                        until gainfully employed. The amount of community service shall not exceed 400 hours.
tr@)                    you shall not maintain employment where you have access to other individual's personal information, including, but not
                        limited to, Social Security numbers and credit card numbers (or money) unless approved by a probation officer.
tr      (5)             you shall not incur new credit charges or open additional lines of credit without the approval of a probation officer unless
                        you are in compliance with the financial obligations imposed by this judgment.
tr      (6)             you shall provide a probation officer with access to any requested financial information necessary to monitor compliance
                        with conditions of supervised release.
tr      O               you shall notify the court of any material change in your economic circumstances that might affect your ability to pay
                        restitution, fines, or special assessments.
n
n
        (8)
        (e)
                        you shall provide documentation to the IRS and pay taxes as required by law.
                        you shall pat'ticipate in a sex offender treatment program. The specific program and provider will be determined by a
                        probation officer. You shall comply with all recommended treatment which may include psychological and physiological
                        testing. You shall maintain use of all prescribed medications.
                        tr You shall comply with the requirements of the Computer and Internet Monitoring Program as administered by the
                                 United States Probation Office. You shall consent to the installation of computer monitoring software on all
                                 identified computers to which you have access. The software may restrict and/or record any and all activity on the
                                 computer, including the capture of keystrokes, application information, lnternet use history, email
                                 correspondence,andchatconversations. Anoticewill beplacedonthecomputeratthetimeofinstallationto
                                 warn others of the existence of the monitoring software. You shall not remove, tamper with, reverse engineer, or
                                 in any way circumvent the software.
                        tr       The cost of the monitoring shall be paid by you at the monthly contractual rate, if you are financially able, sub.iect
                                 to satisfaction of other financial obligations imposed by this judgment.
                        tr       You shall not possess or use any device with access to any online computer service at any location (including
                                 place of employment) without the prior approval of a probation officer. This includes any Internet service
                                 provider, bulletin board system, or any other public or private network or email system.
                        tr       You shall not possess any device that could be used for covefi photography without the prior approval ofa
                                 probation officer.
                        n        You shall not view orpossess child pornography. If the treatment providerdetermines that exposure to other
                                 sexually stimulating material may be detrimental to the treatment process, or that additional conditions are Iikely
                                 to assist the treatment process, such proposed conditions shall be promptly presented to the court, for a
                                 determination, pursuant to l8 U.S.C. $ 3583(eX2), regarding whether to enlarge or otherwise modify the
                                 conditions of supervision to include conditions consistent with the recommendations of the treatment provider.
                        tr       You shall not, without the approval of a probation officer and treatment provider, engage in activities that will put
                                 you in unsupervised private contact with any person under the age of 18, or visit locations where children
                                 regularly congregate (e.g., locations specified in the Sex Offender Registration and Notification Act.)
                        n        This condition does not apply to your family members: [Names]
                        tr       Your employment shall be restricted to the district and division where you reside or are supervised, unless
                                 approval is granted by a probation officer. Prior to accepting any form ofemploymentyou shall seek the approval
                                 ofa probation officer, in order to allow the probation officer the opportunity to assess the level ofrisk to the
                                 community you will pose if employed in a particular capacity. You shall not participate in any volunteer activity
                                 that may cause you to come into direct contact with children except under circumstances approved in advance by
                                 a probation officer and treatment provider.
                        tr       You shall provide the probation officer with copies of your telephone bills, all credit card statements/receipts, and
                                 any other financial information requested.
                        tr       You shall comply with all state and local laws pertaining to convicted sex offenders, including such laws that
                                 impose restrictions beyond those set forth in this order.
tr      (   l0)         you shall pay any financial penalty that is imposed by this judgment that remains unpaid at the commencement of the
                        term of supervised release. Your monthly payment schedule shall be an amount that is at least $                        Yo of
                        your net monthly income, defined as income net of reasonable expenses for basic necessities such as food, shelter,
                        utilities, insurance, and employment-related expenses.
X       (   I   I   )   you shall not enter into any agreement to act as an informer or special agent of a law enforcement agency without the
                        permission of the court.
n       04              you shall repay the United States "buy money" in the amount of $             which you received during the commission of
                        this offense.
n       (r3)            if the probation officer determines that you pose a risk to another person (including an organization or members of the
                        community), the probation officer may require you to tell the person about the risk, and you rxust comply with that
                        instruction. Such notification could include advising the person about your record ofarrests and convictions and
                        substance use. The probation officer may contact the person and confirm that you have told the person about the risk.
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                                  a Criminal Case
    -
Sheet 3   Supervised Release                                                                    .ludgnrent   -   Page 6 of 8

DEFENDANT: JONATHAN SMALLEY
CASE NUMBER: l6 CR 318-l
tr (t4)         other:
                     Case: 1:16-cr-00318
II-ND 2458 (Rev. 08/0212016) Judgment in
                                               Document #: 72 Filed: 05/02/18 Page 7 of 8 PageID #:203
                                  a Crinrinal Case
Sheet 5- Criminal Monetary Penallies                                                                                          .lude,ntent   -   Paec 7 of 8

DEFENDANT: JONATHAN SMALLEY
CASE NUMBER: l6 CR 318-l
                                              CRIMINAL MONETARY PENALTIES
The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                                  Assessment                                                 Fine                      Restitution
    Totals                        $ r 00.00                                                  $                         $



I     fne determination of restitution     is deferred until      . An Amended Judgment in a Criminal Case (Ao 2t5C) will be entered after such
      determination.

!     fne defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      lf the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
      the priority order or percentage payment column below. However, pursuant to l8 U.S.C. $ 3664(i), all nonf-ederal victims must be paid
      before the United States is paid.

       Name of Payee                                       Total Loss*             Restitution Ordered                          Priority or
                                                                                                                                Percentage




                                                Totals:

                Restitution amount ordered pursuant to plea agreement $
                The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in f'ull before
                the fifteenth day after the date of the judgment, pursuant to l8 U.S.C. S 36t2(0. All of the payment options on Sheet 6 may be
                subject to penalties for delinquency and default, pursuant to l8 U.S.C. $ 3612(g).

                The court determined that the defendant does not have the ability to pay interest and it is ordered that:

                tr       the interest requirement is waived for the

                tr       the interest requirement for the          is modified as follows:

          tr    The defendant's non-exempt assets, if any, are subject to immediate execution to satisfo any outstanding restitution or fine
                obligations.


* Findingsforthetotal amountof lossesarerequiredunderChapters 109A, ll0, ll0A,and ll3Aof Title l8foroffensescommiftedonor
after September 13,1994, but before April23,1996.
                          Case: 1:16-cr-00318 Document #: 72 Filed: 05/02/18 Page 8 of 8 PageID #:204
II,ND 245U (Rev. 08/0212016) Judgment in aCriminal Case
Sheet 6   -   Schedule of' Payments                                                                                                      .ludgment-Pagc8ol'ti
DEFENDANT: JONATHAN SMALLEY
CASENUMBER: l6CR3l8-l
                                                          SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A         X         Lump sum payment of      $|   00.00 due immediately.

                    tr         balance due not later   than     , or

                    tr         balance due in accordance with   E c, E     D,   E   E, or   I   n below; or


B         tr        Payment to begin immediately (may be combined with          !    C,   E     D, or   I f   below);or

C         tr        Payment in equal (e.g. weekly, monthly, quarterly) installments of $                          over a period   of   (e.g., months   ot vears),to
                    commence k.g.. 30 or 60 days) after the date of this judgment; or
D         tr        Payment in equal (e.g. weekly, monlhly, quarterly) installments of $       over a period of                        (e.g., months or veurs), to
                    commence (e.g.. 30 or 60 days) after release from imprisonment to a term of supervision; or
E         n         Payment during the term of supervised release will commence within         k.g.. 30 or 60 davs) after release from imprisonment.
                    The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F         E         Special instructions regarding the payment of criminal monetary penalties:



Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

n         Joint and Several

Case      Number                                       Total   Amount                     Several
                                                                                    Joint and                        Corresponding Payee,   if
Defendant and Co-Defendant              Names                                        Amount                          Appropriate
(including defendant num ber)



n         The defendant shall pay the cost ofprosecution.

tr        The defendant shall pay the following court cost(s):

tr        The defendant shall forfeit the defendant's interest in the following property to the United States:

Payments shall be applied in the following order: (l) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
